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                     EXHIBIT 20
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From:                 Bryan D. Kelley
Sent:                 Friday, May 6, 2016 9:57 AM EDT
To:                   'Richard Wheelahan'; Joe Alala Ill
CC:                   Casey Swercheck; James Howe; Kallie Hapgood; Mark McAndrews
Subject:              RE: Capitala Term Sheet Proposal 04 28 2016
Attachments:          Capitala Term Sheet Proposal 562016 Blackline.doc, Capitala Term Sheet Proposal 562016 Execution Copy.pdf



Richard, here it is. Please sign and return. James will be back in the office late today at which point we
will execute.


Is there agood time on Monday/Tuesday afternoon next week to get on the phone to start organizing
our next steps?


Thanks, Bryan




Bryan D. Kelley
NovaFund Advisors




NovaFurid
     A d v is a r s
Tel. 203-831-0111 Ext. 210
Cell 917-412-7972
bk@novafundadvisors.com
www.novafundadvisors.com


From: Richard Wheelahan [mailto: rwheelahan@capitalsouthpartners.com]
Sent: Friday, May 06, 2016 6:19 AM
To: Bryan D. Kelley; Joe Alala III
Cc: Casey Swercheck; James Howe; Kallie Hapgood; Mark McAndrews
Subject: RE: Capitala Term Sheet Proposal 04 28 2016


Thanks Bryan,


In that case would you mind changing the first sentence of the second paragraph of the term sheet
("Fee Proposal") to "Capitala will agree to compensate Nova for an amount equal to 1.5% of the amount
of equity capital that any Target Investor commits to the Fund or aseparately managed account
("Success Fee)."


We should also change the date to May 6for termination, as well.


If you wouldn't mind clarifying that point we will sign and return.


Richard


Richard G. Wheelahan III ICCO General Counsel




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CaptaTa


From: Bryan D. Kelley [mailto:bk@novafundadvisors.com]
Sent: Thursday, May 5, 2016 8:20 PM
To: Joe Alala Ill <JAIaIacapitaIagroup.com>
Cc: Richard Wheelahan <rwheelahan@capitalsouthpartners.com>; Casey Swercheck
<Casev@capitalagroup.com>; James Howe <ih@novafundadvisors.com>; Kallie Hapgood
<kh@novafundadvisors.com>; Mark McAndrews <mmc@novafundadvisors.com>
Subject: Re: Capitala Term Sheet Proposal 04 28 2016


Yes, please sign the term sheet, thanks


Bryan Kelley
Nova Fund Advisors
(917) 412-7972
Sent from my iPhone

On May 5, 2016, at 7:08 PM, Joe Alala III <JAlala@capitalagroup.com> wrote:


   Bryan.


   Is it clear in this executed draft that your fee attaches to LP commitments on equity but does not
   apply to third party debt?


   If so we can execute


   Joe Alala, III
   Chairman and CEO
   Chief Investment Officer
   Capitala Group
   Capitala Finance Corp (NASDAQ-CPTA)
   CapitalSouth Growth Fund
   Phone    -   704-376-5502 ext. 24
   www.capitalagroup.com
   Please forgive any typing or grammatical errors. It is Ithe operator who is challenged
   by emails while constantly traveling.
   Sent from my iPhone

   On May 5, 2016, at 4:47 PM, Bryan D. Kelley <bk@novafundadvisors.com> wrote:


       Gentlemen, please find attached an executed term sheet. We are very excited to be working with
       you on this project!
       Please sign and send back asap. Thanks and kind regards, Bryan
       Bryan D. Kelley
       NovaFund Advisors




                                                                                                        NF010460
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Tel. 203-831-0111 Ext. 210
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bk@novafundadvisors.com
www.novafundadvisors.com

From: Richard Wheelahan [maitto: rwheelahan@capitalsouthparl:ners.com]
Sent: Tuesday, May 03, 2016 2:28 PM
To: Bryan D. Kelley; James Howe; Kallie Hapgood
Cc: Joe Alala III; Casey Swercheck; Herring, John
Subject: RE: Capitala Term Sheet Proposal 04 28 2016
Bryan,
Attached is aredline of the most recent term sheet that Capitala is ok with. This reflects the draft
you sent on Friday, and our internal discussions. Thanks for allowing us to caucus over the
weekend and this week.
We're ok with the $125mm carveout ceiling, as well as the revised tail language that you
proposed.
We are excited to get to work, and hope to have copies of our subscription documents from
counsel soon.
If these changes are acceptable, please accept them and then we can swap signatures tomorrow.
Richard
Richard G. Wheelahan iii Icco General counsel
                              .




p704 936 4928 1m 205 960 5144 IcapitalaGroup.com



From: Bryan D. Kelley [mailto:bk@novafundadvisors.com]
Sent: Friday, April 29, 2016 3:21 PM
To: Richard Wheelahan <rwheelahan@capitalsouthpartners.com>; James Howe
<ih@novafundadvisors.com>; Kallie Hapgood <kh@novafundadvisors.com>
Cc: Joe Alala Ill <JAlala@capitalagroup.com>; Casey Swercheck <Casev@capitalagroup.com>
Subject: RE: Capitala Term Sheet Proposal 0428 2016
OK, thanks, let us know if you would like to discuss over the weekend
Bryan D. Kelley
NovaFund Advisors
Tel. 203-831-0111 Ext. 210
Cell 917-412-7972
bk@novafundadvisors.com
www.novafundadvisors.com

From: Richard Wheelahan [mailto: rwheelahan@capitalsouthpariners.com]
Sent: Friday, April 29, 2016 2:59 PM
To: Bryan D. Kelley; James Howe; Kallie Hapgood
Cc: Joe Alala III; Casey Swercheck
Subject: RE: Capitala Term Sheet Proposal 04 28 2016
Bryan, the fee tail language you provided makes sense. We're both on the same page —just
wording it differently.
As for the remaining points (mostly related to the carveout list and overlap), let's wait until Joe
has achance to caucus (likely first thing next week).
Y'all have agreat weekend.
Richard
Richard G. Wheelahan III IccO General Counsel
                              .




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                                                                                                       NF010461
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From: Bryan D. Kelley [mailto:bk@novafundadvisors.com]
Sent: Friday, April 29, 2016 10:09 AM
To: Richard Wheelahan <rwheelahan@capitalsouthpartners.com>; James Howe
<ih@novafundadvisors.com>; Kallie Hapgood <kh@novafundadvisors.com>
Cc: Joe Alala Ill <JAlala@capitalagroup.com>; Casey Swercheck <Casev@capitalagroup.com>
Subject: RE: Capitala Term Sheet Proposal 04 28 2016
Richard, thanks for your comments. We have reviewed and would make the
following points:
•For the cap on full carve out names, we would suggest acompromise at
    $125MM. For certain names, we would not expect to work together since
    we either do not know the LP at all or you have demonstrated asuperior
    relationship (like Hamilton Lane, Kemper or the State of Florida).
•On the carve out list in the term sheet, there are certain LP names we
    know well and for which we would want areduced fee                -   since we both
    know them we would work together to catalyze the LP to close. Working
   from alist of 100 LPs, we would propose several LPs in this category. We
    discussed 35bps for afee on reduced names yesterday               -   but that was
    really only referencing what we did with Gridiron II when we helped
   them with existing LPs. With LPs that are not existing LPs, we believe the
    work will be more demanding and require more of our time                 -   so we
    would propose 50bps to compensate for this. We would, however, agree
   to forego these fees if you agree to the $125MM carve out cap above.
    We would then work on these names together where you believe we can
    be helpful.
•In addition to Hamilton Lane, there are six more gatekeepers/advisors on
   the carve out list that we would like to discuss. As afull carve out, this
   would imply that if Nova identified aadvisor client and they ultimately
    closed, then we would be paid no fee. For example, carving out
    Cambridge Associates would imply over 300 LPs for which we would
    potentially receive no compensation, and therefore we would have no
    motivation to approach. We have historically had the best success
    moving Cambridge through by pushing their underlying investors.
   Additionally we have had arelationship with Cambridge Associates
    spanning over 15 years. We do not think the carve out approach would
    be in either of our best interests. We want to be thoughtful about these
    advisors so we are all working together towards an efficient fundraise,
    which is the ultimate goal. We would propose working together on these




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    six advisors jointly as NovaFund would seek to get to the $125MM carve
    out cap as soon as possible.
•On the tail fee language, the last sentence is confusing. The market
    standard is for atail fee to be paid to the agent on aclosed LP introduced
    by the agent in the current fund, that closes in the next successor fund
    with asimilar strategy. The language Iproposed was admittedly
    confusing. Ihope the new language is better and more straightforward.
Let's discuss later today or over the weekend, thanks.
Bryan D. Kelley
NovaFund Advisors
Tel. 203-831-0111 Ext. 210
Cell 917-412-7972
bk@novafundadvisors.com
www.novafundadvisors.com

From: Richard Wheelahan [mailto: rwheelahan@capitalsouthparl:ners.com]
Sent: Thursday, April 28, 2016 1:02 PM
To: Bryan D. Kelley; James Howe; Kallie Hapgood
Cc: Joe Alala III; Casey Swercheck
Subject: Capitala Term Sheet Proposal 04 28 2016
Bryan,
In follow up to our discussions, attached is arevised term sheet with Capitala's comments,
including the carve-out list.
Joe's traveling this afternoon, but please let me know if you would like to set aside atime to
discuss later today (subject to availability) or tomorrow.
Richard
Richard G. Wheelahan iii   Icco   General Counsel
Capitala Group
4201 Congress Street I
                     Suite 360 I
                               Charlotte, NC 28209
p704 936 4928 1m 205 960 5144 I CapitalaGroup.com


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